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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF CALIFORNIA



CURTIS LEE MORRISON,                                 Case No. 2:23-cv-00850-JDP (PC)

                Plaintiff,

       v.

GISELLE MATTESON, et al.,
                                                     ORDER & WRIT OF HABEAS CORPUS
                Defendants.                          AD TESTIFICANDUM
                                             /

Curtis Lee Morrison, CDCR # A-90679, a necessary and material witness in a settlement
conference in this case on July 16, 2024, is confined in California State Prison, Solano (SOL), in
the custody of the Warden. In order to secure this inmate’s attendance, it is necessary that a Writ
of Habeas Corpus ad Testificandum issue commanding the custodian to produce the inmate
before Chief Magistrate Judge Carolyn K. Delaney, by Zoom video conference from his place of
confinement, on Tuesday, July 16, 2024 at 9:30 a.m.

                               ACCORDINGLY, IT IS ORDERED that:

   1. A Writ of Habeas Corpus ad Testificandum issue, under the seal of this court,
      commanding the Warden to produce the inmate named above, by Zoom video conference,
      to participate in a settlement conference at the time and place above, until completion of
      the settlement conference or as ordered by the court. Zoom video conference connection
      information will be supplied via separate email.

   2. The custodian is ordered to notify the court of any change in custody of this inmate and is
      ordered to provide the new custodian with a copy of this writ.

   3. The Clerk of the Court is directed to serve a copy of this order via fax on the Litigation
      Office at California State Prison, Solano at (707) 454-3429 or via email.

   4. Any difficulties connecting to the Zoom video conference shall immediately be reported
      to Lisa Kennison, Courtroom Deputy, at lkennison@caed.uscourts.gov.

                     WRIT OF HABEAS CORPUS AD TESTIFICANDUM

To: Warden, SOL, P. O. Box 4000, Vacaville, California 95696:

WE COMMAND you to produce the inmate named above to testify before Judge Delaney at the
time and place above, by Zoom video conference, until completion of the settlement conference
or as ordered by the court.
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FURTHER, you have been ordered to notify the court of any change in custody of the inmate
and have been ordered to provide the new custodian with a copy of this writ.


IT IS SO ORDERED.


Dated:    June 6, 2024
                                              JEREMY D. PETERSON
                                              UNITED STATES MAGISTRATE JUDGE
